Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 1 of 19 Page ID
                                 #:45416


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                              UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10                               WESTERN DIVISION
  11
  12   JENNY LISETTE FLORES, et al.,        No. CV 85-4544-DMG-AGRx
  13         Plaintiffs,                     MEMORANDUM OF POINTS AND
  14                                         AUTHORITIES IN SUPPORT OF MOTION FOR
       v.                                    AWARD OF ATTORNEYS’ FEES
  15
       MERRICK GARLAND, Attorney General of
  16                                        Hearing: January 28, 2022
       the United States, et al.,
                                            Time: 9:30 a.m.
  17                                        Hon. Dolly M. Gee
  18         Defendants.
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Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 2 of 19 Page ID
                                 #:45417


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                                                       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                             CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 3 of 19 Page ID
                                 #:45418


   1                                            TABLE OF CONTENTS
   2
       I. INTRODUCTION .............................................................................................. 1
   3   II. TIMELINESS OF FEE REQUEST ................................................................... 2
   4   III. ARGUMENT ..................................................................................................... 2
            A. Plaintiffs Satisfy All Requirements for an Award of EAJA Fees .............. 2
   5
              1. Plaintiffs are prevailing parties............................................................... 3
   6          2. Plaintiffs’ net worth is far less than $2,000,000. .................................... 5
   7          3. Defendants’ position lacked substantial justification. ............................ 5
            B. Lodestar Calculation................................................................................... 8
   8
            C. Special Factors Warrant a Fee Award at Market Rates for Plaintiffs’
   9        Senior Counsel ................................................................................................... 9
  10          1. Plaintiffs’ counsel possess distinctive knowledge and specialized skill
              that was necessary to the litigation. .............................................................. 10
  11
              2. Other qualified counsel is unavailable at the statutory rate.................. 12
  12          3. Market rates for Plaintiffs’ senior counsel. .......................................... 13
  13   IV. CONCLUSION ................................................................................................ 14
  14
  15
  16
  17
  18
  19
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  21
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  24
  25
  26
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                                                                i           MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                                  CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 4 of 19 Page ID
                                 #:45419


   1                                            TABLE OF AUTHORITIES
   2
   3   CASES

   4   Animal Lovers Volunteer Ass’n v. Carlucci, 867 F.2d 1224 (9th Cir. 1989) ............. 8
   5   Ardestani v. I.N.S., 502 U.S. 129 (1991) .................................................................... 3
       Balla v. Idaho, 677 F.3d 910 (9th Cir. 2012) ............................................................. 4
   6
       Blum v. Stenson, 465 U.S. 886 (1984) ..................................................................... 13
   7   Buckhannon Bd. & Care Home, Inc. v. West Virginia Dep’t of Health & Human
   8      Res., 532 U.S. 598 (2001) ...................................................................................... 3
       Cobell v. Norton, 407 F. Supp. 2d 140 (D.D.C. 2005)............................................... 5
   9
       Comm’r, I.N.S. v. Jean, 496 U.S. 154 (1990) ........................................................ 3, 6
  10   Costa v. Comm’n of Social Security Admin., 690 F.3d 1132 (9th Cir. 2012) ............ 8
  11   Fang v. Gonzales, No. 03-71352, 2006 WL 5669901 (9th Cir. Oct. 30, 2006) ......... 9
       Flores v. Barr, 977 F.3d 742 (9th Cir. 2020) ......................................................... 1, 7
  12
       Flores v. Garland, 3 F.4th 1145 (9th Cir. 2021) ................................................ 2, 4, 7
  13   Flores v. Johnson, 212 F. Supp. 3d 864 (C.D. Cal. 2015) ....................................... 11
  14   Flores v. Meese, 681 F. Supp. 665 (C.D. Cal. 1988) ............................................... 11
  15   Flores v. Meese, 934 F.2d 991 (9th Cir. 1990) ........................................................ 11
       Flores v. Meese, 942 F.2d 1352 (9th Cir. 1992) ...................................................... 11
  16
       Flores v. Sessions, 862 F.3d 863 (9th Cir. 2017) ..................................................... 11
  17   Flores v. Sessions, No. CV 85-4544, 2017 WL 8943169 (C.D. Cal. Nov. 14, 2017)
  18      .............................................................................................................................. 11
       Gonzales v. Free Speech Coal., 408 F.3d 613 (9th Cir. 2005)................................... 6
  19
       Hensley v. Eckerhart, 461 U.S. 424 (1987)................................................................ 8
  20   Ibrahim v. U.S. Dep’t of Homeland Sec., 912 F.3d 1147 (9th Cir. 2019) ...... 3, 5, 6, 7
  21   In re Mgndichian, 312 F. Supp. 2d 1250 (C.D. Cal. 2003) ........................................ 5
  22   Kali v. Bowen, 854 F.2d 329 (9th Cir. 1988) ............................................................. 6
       Keith v. Volpe, 833 F.2d 850 (9th Cir. 1987) ............................................................. 4
  23   Lara v. Berryhill, No. 2:16-CV-0034 DB, 2017 WL 4679989 (E.D. Cal. Oct. 18,
  24      2017) ....................................................................................................................... 8
  25   League of United Latin Am. Citizens v. Wilson, 908 F. Supp. 755 (C.D. Cal. 1995)
          .............................................................................................................................. 11
  26
       Li v. Keisler, 505 F.3d 913 (9th Cir. 2007) ............................................................ 2, 6
  27   Love v. Reilly, 924 F.2d 1492 (9th Cir. 1991) .................................................... 3, 5, 9
  28   Meier v. Colvin, 727 F.3d 867 (9th Cir. 2013) ........................................................... 6


                                                                       ii           MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                                            CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 5 of 19 Page ID
                                 #:45420


   1   Nadarajah v. Holder, 569 F.3d 906 (9th Cir. 2009) ...................................... 9, 10, 13
       Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929 (C.D. Cal. 2010) .......... 9, 10, 14
   2
       Perez-Arellano v. Smith, 279 F.3d 791 (9th Cir. 2002) ............................................. 3
   3   Perez-Olano v. Gonzalez, 248 F.R.D. 248 (C.D. Cal. 2008) ................................... 11
   4   Pierce v. Underwood, 487 U.S. 552 (1988) ........................................................... 6, 9
       Prison Legal News v. Schwarzenegger, 608 F.3d 446 (9th Cir. 2010) ...................... 4
   5
       Rawlings v. Heckler, 725 F.2d 1192 (9th Cir. 1984) ................................................. 6
   6   Reno v. Flores, 507 U.S. 292 (1993) ........................................................................ 11
   7   Richlin Sec. Service Co. v. Chertoff, 553 U.S. 571 (2008)......................................... 8
   8   Rosemary G. V. v. Saul, No. 3:19-cv-00715-RBM, 2020 WL 6703123 (S.D. Cal.
         Nov. 12, 2020) ........................................................................................................ 8
   9
       Scarborough v. Principi, 541 U.S. 401 (2004) ...................................................... 3, 5
  10   Thangaraja v. Gonzales, 428 F.3d 870 (9th Cir. 2005) ............................................. 9
  11
       STATUTES & REGULATIONS
  12   28 U.S.C. § 2412 ...............................................................................................passim
  13   85 Fed. Reg. 17,060 ................................................................................................... 1
  14   Homeland Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2135 ................... 10
       Pub. L. No. 96-481, 94 Stat. 2321 (1980) .................................................................. 3
  15
       William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008,
  16     Pub. L. No. 110-457, 122 Stat. 5044 .............................................................. 10, 12
  17
       RULES
  18
       Fed. R. App. P. 8 ........................................................................................................ 7
  19
  20   OTHER AUTHORITIES
  21   United States Court of Appeals for the Ninth Circuit, Statutory Maximum Rates
         Under the Equal Access to Justice,
  22     https://www.ca9.uscourts.gov/attorneys/statutory-maximum-rates/ (last visited
  23     October 4, 2021) ..................................................................................................... 8
  24
  25
  26
  27
  28


                                                                   iii         MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                                     CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 6 of 19 Page ID
                                 #:45421


   1      I.      INTRODUCTION

   2           Plaintiffs move the Court to award them attorneys’ fees incurred in
   3   enforcing the Flores Settlement Agreement (“Settlement”) on behalf of class
   4   members detained pursuant to Title 42 of the U.S. Code.
   5           In March 2020, the Centers for Disease Control and Prevention (“CDC”)
   6   issued an order, implemented by the Department of Homeland Security (“DHS”),
   7   which allowed for the summary expulsion of children seeking refuge in the United
   8   States. See Order Suspending Introduction of Certain Persons from Countries
   9   where a Communicable Disease Exists, 85 Fed. Reg. 17,060 (Mar. 26, 2020)
  10   (“Closure Order”). This order was issued pursuant to the CDC’s purported
  11   authority under Title 42 of the U.S. Code. Id.
  12           In violation of the Settlement, DHS detained children designated for
  13   expulsion under Title 42 in unlicensed hotel rooms, held them virtually
  14   incommunicado, and refused to transfer them to state-licensed placements. See
  15   Order re Plaintiffs’ Motion to Enforce Settlement as to “Title 42” Class Members
  16   [920] at 12-13, September 4, 2020, Doc. # 976 (“Sept. 4 Order”). In response,
  17   Plaintiffs filed a Motion to Enforce the Settlement to ensure these children were
  18   treated as Flores class members and were afforded the protections and services
  19   guaranteed by the Settlement. Id. at 1.
  20           On September 4, 2020, the Court granted Plaintiffs’ Motion to Enforce
  21   Settlement re “Title 42” Class Members. Id. The Court confirmed that all minors
  22   detained in the legal custody of DHS or the Office of Refugee Resettlement
  23   (“ORR”) pursuant to Title 42 are class members under the Settlement and ordered
  24   DHS to transfer these children from hotels to licensed facilities as expeditiously as
  25   possible as the Settlement requires. Id. at 17-18. Both this Court and the Ninth
  26   Circuit denied Defendants’ requests for a stay pending appeal. See Flores v. Barr,
  27   977 F.3d 742, 744 (9th Cir. 2020); Order re Defendants’ Ex Parte Application to
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                                                 1       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEY’S FEES
                                                                                               CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 7 of 19 Page ID
                                 #:45422


   1   Stay [985], September 21, 2020, Doc. # 990 (“Sept. 21 Order”).1 On June 30, 2021,
   2   the Ninth Circuit affirmed the Court’s orders. See Flores v. Garland, 3 F.4th 1145,
   3   1147 (9th Cir. 2021).
   4             Plaintiffs now apply pursuant to the Equal Access to Justice Act, 28 U.S.C.
   5   § 2412(d) (“EAJA”), for an award of attorneys’ fees incurred in securing this
   6   Court’s enforcement order and defending it on appeal, in the total amount of
   7   $232,773.26.
   8       II.      TIMELINESS OF FEE REQUEST
   9             The EAJA requires that the successful litigant file a fee application “within
  10   thirty days of final judgment in the action.” 28 U.S.C. § 2412(d)(1)(B). “The
  11   thirty-day deadline to file an application for attorney’s fees under EAJA does not
  12   begin to run until after the ninety-day period during which a party may seek a writ
  13   of certiorari from the United States Supreme Court.” Li v. Keisler, 505 F.3d 913,
  14   916-17 (9th Cir. 2007). The Ninth Circuit affirmed this Court’s orders on June 30,
  15   2021. See Flores v. Garland, 3 F.4th at 1147. The instant fee motion is therefore
  16   timely.
  17       III.     ARGUMENT
  18             A. Plaintiffs Satisfy All Requirements for an Award of EAJA Fees
  19             The EAJA provides:
  20             … a court shall award to a prevailing party other than the United States fees
                 and other expenses … incurred by that party in a civil action (other than
  21             cases sounding in tort), … brought by or against the United States in any
                 court having jurisdiction of that action, unless the court finds that the position
  22             of the United States was substantially justified or that special circumstances
                 make an award unjust.
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  26     The Court’s order denying Defendants’ stay application ordered the September 4
       Order effective as of September 28, 2020, with a modification that allows DHS to
  27   “implement brief hotel stays (not more than 72 hours) as necessary and in good
  28   faith to alleviate bottlenecks in the intake processes at licensed facilities.” Sept. 21
       Order at 5 (emphasis in original).

                                                     2        MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                    CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 8 of 19 Page ID
                                 #:45423


   1   28 U.S.C. § 2412(d)(1)(A). Eligibility for a fee award under EAJA “requires: (1)
   2   that the claimant be ‘a prevailing party’; (2) that the Government’s position was not
   3   ‘substantially justified’; (3) that no ‘special circumstances make an award unjust’;
   4   and, (4) pursuant to 28 U.S.C. § 2412(d)(1)(B), that any fee application be
   5   submitted to the court within 30 days of final judgment in the action and be
   6   supported by an itemized statement.” Ibrahim v. U.S. Dep’t of Homeland Sec., 912
   7   F.3d 1147, 1167 (9th Cir. 2019) (en banc) (quoting Comm’r, I.N.S. v. Jean, 496
   8   U.S. 154, 158 (1990)).
   9         “The clearly stated objective of the EAJA is to eliminate financial
  10   disincentives for those who would defend against unjustified governmental action
  11   and thereby to deter the unreasonable exercise of Government authority.” Id. at
  12   1166 (quoting Ardestani v. I.N.S., 502 U.S. 129, 138 (1991)). “Congress
  13   specifically intended the EAJA to deter unreasonable agency conduct.” Id. at 1166-
  14   67 (citing Jean, 496 U.S. at 163 n.11 and Pub. L. No. 96-481, §§ 201-08, 94 Stat.
  15   2321, 2325-30 (1980)). Therefore, when a party has prevailed against it, the burden
  16   shifts to the Government to prove that its position, both before and during the
  17   litigation, was substantially justified or that special circumstances make an award of
  18   attorneys’ fees and costs unjust. Scarborough v. Principi, 541 U.S. 401, 416-17
  19   (2004); Love v. Reilly, 924 F.2d 1492, 1495 (9th Cir. 1991).
  20                1. Plaintiffs are prevailing parties.
  21         Under the EAJA, a party prevails when it has been granted “some relief by a
  22   court.” Buckhannon Bd. & Care Home, Inc. v. West Virginia Dep’t of Health &
  23   Human Res., 532 U.S. 598, 603 (2001).2 To prove prevailing party status, an EAJA
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  26   2
        Although Buckhannon involved non-EAJA fee-shifting statutes, the Ninth Circuit
  27   has held that the requirements for a prevailing party announced in that decision are
  28   applicable to EAJA awards as well. Perez-Arellano v. Smith, 279 F.3d 791, 793-94
       (9th Cir. 2002).

                                                 3          MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                  CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 9 of 19 Page ID
                                 #:45424


   1   petitioner must establish: (1) a “material alteration of the legal relationship of the
   2   parties,” and (2) a “judicial imprimatur on the change.” Id. at 604-05.
   3          A party prevails, and thereafter remains a prevailing party, when it has
   4   obtained an enforceable settlement or consent decree. Prison Legal News v.
   5   Schwarzenegger, 608 F.3d 446, 451 (9th Cir. 2010). Plaintiffs accordingly
   6   prevailed in this action by obtaining the Settlement in 1997.3
   7         Plaintiffs further prevailed on the specific motion at issue by obtaining an
   8   order enforcing the Settlement with respect to class members designated for
   9   expulsion pursuant to Title 42. The Court’s Sept. 4 Order, as modified by the Sept.
  10   21 Order, enjoined several violations of the Settlement and requires Defendants to
  11   (1) treat unaccompanied and accompanied children detained pursuant to Title 42 as
  12   class members under the Settlement; (2) cease placing class members in hotels
  13   except for brief stays of no more than 72 hours; (3) afford class members, including
  14   those held pursuant to Title 42, licensed placements as expeditiously as possible;
  15   (4) allow class members detained pursuant to Title 42 access to counsel; and (5)
  16   report to the Court information regarding minors held pursuant to Title 42. See
  17   Sept. 4 Order at 17-18; Sept. 21 Order at 5. The Court’s orders were affirmed on
  18   appeal. See Flores v. Garland, 3 F.4th at 1147.
  19         Because this Court ordered Defendants to adjust their policies and practices
  20   in an order affirmed by the Ninth Circuit, Plaintiffs clearly prevailed on their
  21   motion and accordingly satisfy the first requirement for an EAJA award.
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  24     Plaintiffs are entitled to recover reasonable fees related to “compliance
       monitoring” of a settlement or injunction, even in the absence of new judicial relief.
  25   Balla v. Idaho, 677 F.3d 910, 918-20 (9th Cir. 2012); see also Prison Legal News,
  26   608 F.3d at 451 (reaffirming prior holding “that a party that prevails by obtaining a
       consent decree may recover attorneys’ fees under § 1988 for monitoring
  27   compliance with the decree, even when such monitoring does not result in any
  28   judicially sanctioned relief” (citing Keith v. Volpe, 833 F.2d 850, 855-57 (9th Cir.
       1987)).

                                                  4        MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                 CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 10 of 19 Page ID
                                 #:45425


   1                2. Plaintiffs’ net worth is far less than $2,000,000.

   2         Pursuant to 28 U.S.C. § 2412(d)(2)(B)(i), a party’s “net worth [must] not
   3   exceed $2,000,000 at the time the civil action was filed ….” The original named
   4   plaintiffs in this action were indigent at the time this action commenced. See
   5   Declaration of Carlos Holguín, Exhibit A, (“Holguín”) at ¶ 5. Plaintiff class
   6   members are generally indigent as well. By definition, they are immigrant or
   7   refugee children in federal custody because of their lack of immigration status.
   8   Settlement ¶¶ 10-11; Holguín at ¶ 5 (affirming that Flores plaintiff class members
   9   are on the whole indigent).
  10         Plaintiffs accordingly meet the second requirement for an EAJA fee award.
  11   See Cobell v. Norton, 407 F. Supp. 2d 140, 148 (D.D.C. 2005) (“[A]ffidavits signed
  12   by the class representatives, attesting to the fact that their net worth fell within
  13   EAJA statutory guidelines at the time the litigation was initiated … amply satisfy
  14   the requirements of the statute for the entire class.”).
  15                3. Defendants’ position lacked substantial justification.
  16         Because Plaintiffs prevailed and meet the EAJA’s net worth standard, “an
  17   award of fees is mandatory under the EAJA unless the Government’s position is
  18   substantially justified or special circumstances exist that make an award of fees
  19   unjust.” Love, 924 F.2d at 1495. Defendants must carry the burden of proof with
  20   respect to both factors. Id.; see also Ibrahim, 912 F.3d at 1167.
  21         Plaintiffs have alleged that Defendants’ position was without substantial
  22   justification and that no special circumstances make a fee award unjust. The
  23   burden therefore shifts to Defendants to show their position was substantially
  24   justified or that special circumstances would make a fee award unjust. See
  25   Scarborough, 541 U.S. at 416-17; see also In re Mgndichian, 312 F. Supp. 2d 1250,
  26   1255 (C.D. Cal. 2003) (prevailing party need only “alleg[e] that the government’s
  27   position was not substantially justified and that no special circumstances exist that
  28   make an award unjust”); 28 U.S.C. § 2412 (d)(1)(B) (“A party seeking an award of

                                                  5        MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                 CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 11 of 19 Page ID
                                 #:45426


   1   fees and other expenses … shall [] allege that the position of the United States was
   2   not substantially justified.”).
   3          “The test for whether the government is substantially justified is one of
   4   ‘reasonableness.’” Gonzales v. Free Speech Coal., 408 F.3d 613, 618 (9th Cir.
   5   2005). Defendants must show that the government’s position has “a ‘reasonable
   6   basis both in law and fact.’” Meier v. Colvin, 727 F.3d 867, 870 (9th Cir. 2013)
   7   (quoting Pierce v. Underwood, 487 U.S. 552, 565 (1988)).
   8          In analyzing the reasonableness of the Governments position, a court
   9   considers the totality of the circumstances, which incorporates both the underlying
  10   governmental action and the Government’s litigation position. See Ibrahim, 912
  11   F.3d at 1168 (“[T]he substantial justification test is comprised of two inquiries, one
  12   directed toward the government agency’s conduct, and the other toward the
  13   government’s attorneys’ conduct during litigation.”); Kali v. Bowen, 854 F.2d 329,
  14   332 (9th Cir. 1988) (inquiry includes whether both the original action and the
  15   defense of the action was substantially justified); see also Rawlings v. Heckler, 725
  16   F.2d 1192, 1196 (9th Cir. 1984). Moreover, “the EAJA—like other fee-shifting
  17   statutes—favors treating a case as an inclusive whole, rather than as atomized line-
  18   items.” Ibrahim, 912 F.3d at 1169 (quoting Jean, 496 U.S. at 161-62). The Ninth
  19   Circuit has “consistently held that regardless of the government’s conduct in the
  20   federal court proceedings, unreasonable agency action at any level entitles the
  21   litigant to EAJA fees.” Id. at 1167 (quoting Li, 505 F.3d at 919).
  22          Defendants will not succeed in making either showing. First, the underlying
  23   agency action was not substantially justified. Despite the Settlement’s
  24   unambiguous requirement that children be expeditiously placed in state-licensed
  25   facilities, Defendants refused to transfer children from unlicensed hotels to licensed
  26   care providers. See Sept. 4 Order at 12-13. Defendants’ conduct was particularly
  27   unreasonable because vulnerable children were placed at risk in hotel detention
  28   while ORR shelters were almost empty and had more than enough capacity to

                                                 6       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                               CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 12 of 19 Page ID
                                 #:45427


   1   accept children pending expulsion pursuant to Title 42. Id. at 13-15. This
   2   unreasonable conduct alone justifies a fee award. See Ibrahim, 912 F.3d at 1167.
   3         Additionally, Defendants’ litigation position was not substantially justified.
   4   Defendants’ primary defense was that children detained in hotels were not Flores
   5   class members because they were in the legal custody of the CDC rather than DHS.
   6   See Flores v. Garland, 3 F.4th at 1154. Defendants advanced this argument despite
   7   undisputed facts that DHS had full decision-making authority over the detained
   8   children. Id. at 1155; Sept. 4 Order at 6-8. As the Ninth Circuit explained, “[t]he
   9   government’s current position, focusing on the source of the legal authority for
  10   assigning custody and not on the assigned custody itself, is inconsistent with its use
  11   of the term in its own regulations, as well as with common legal usage.” Flores v.
  12   Garland, 3 F.4th at 1155; see also Flores v. Barr, 977 F.3d at 748 (noting doubt
  13   that Defendants had raised even “serious questions” on the merits); Sept. 4 Order at
  14   6-11 (addressing Defendants’ arguments and explaining that “[t]here is no question
  15   that the immigration authorities of the United States are detaining the minors in
  16   their legal custody” and “[a] contrary result would be to endorse a shell game”).
  17         In addition to adopting an unreasonable position on the merits, Defendants’
  18   seeking a stay was not substantially justified. See Ibrahim, 912 F.3d at 1171 n.20
  19   (“[W]hen considering the government’s litigation position, we also consider the
  20   government’s positions on discovery and other non-merits issues, i.e., the
  21   government’s conduct as a whole.”). In violation of Federal Rule of Appellate
  22   Procedure 8(a), Defendants bypassed this Court and requested a stay from the Ninth
  23   Circuit in the first instance without demonstrating that “it would have been
  24   impracticable to present the stay motion and [Defendants’] newly introduced
  25   evidence to the district court in the first instance.” Ninth Circuit Order at 1,
  26   September 16, 2020, Doc. # 984. The Ninth Circuit accordingly denied
  27   Defendants’ initial motion and directed them to seek a stay in the first instance in
  28


                                                  7       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 13 of 19 Page ID
                                 #:45428


   1   this Court. Id. at 1-2. Defendants’ failure to comply with the federal rules wasted
   2   judicial resources and caused Plaintiffs to incur additional attorneys’ fees.
   3         B. Lodestar Calculation
   4         A “lodestar” figure for the amount of fees Plaintiffs should recover is
   5   calculated by multiplying the number of hours counsel reasonably dedicated by the
   6   inflation-adjusted EAJA hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433
   7   (1987); Costa v. Comm’n of Social Security Admin., 690 F.3d 1132, 1135 (9th Cir.
   8   2012).4
   9         The Ninth Circuit’s inflation-adjusted EAJA base rate during 2020 and 2021,
  10   the years counsel worked to secure and defend the September 4 Order, is published
  11   by the Ninth Circuit at https://www.ca9.uscourts.gov/attorneys/statutory-maximum-
  12   rates/ (last visited October 4, 2021). Plaintiffs also request fees for a paralegal’s
  13   work at $100 per hour. See Richlin Sec. Service Co. v. Chertoff, 553 U.S. 571, 590
  14   (2008) (“[A] prevailing party that satisfies EAJA’s other requirements may recover
  15   its paralegal fees from the Government at prevailing market rates.”); Rosemary G.
  16   V. v. Saul, No. 3:19-cv-00715-RBM, 2020 WL 6703123, at *5 (S.D. Cal. Nov. 12,
  17   2020) (approving $130 hourly paralegal rate); Lara v. Berryhill, No. 2:16-CV-0034
  18   DB, 2017 WL 4679989, at *3 (E.D. Cal. Oct. 18, 2017) (awarding fees for
  19   paralegal time at $100 per hour).
  20         The hours counsel devoted to prosecuting this action, adjusted for time that
  21   was poorly documented or excessive, appear in the itemized time records annexed
  22   to the declarations of Plaintiffs’ counsel. Holguín at ¶ 10; see also Ex. B to
  23   Holguín; Declaration of Leecia Welch, Exhibit B, (“Welch”) at ¶ 19; see also Ex. B
  24   to Welch. These hours multiplied by the Ninth Circuit’s inflation-adjusted base
  25
  26
  27   4
        An increase over the base rate to account for inflation is granted in all but unusual
  28   circumstances. Animal Lovers Volunteer Ass’n v. Carlucci, 867 F.2d 1224, 1227
       (9th Cir. 1989).

                                                  8        MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                 CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 14 of 19 Page ID
                                 #:45429


   1   rates yield a lodestar fee request of $149,041.87. Welch ¶ 24. Plaintiffs further
   2   request an additional $2,110.00 in paralegal fees. Id.
   3         As will be seen next however, the Court should award Plaintiffs fees for
   4   senior counsel’s work at “enhanced,” or market, hourly rates.
   5         C. Special Factors Warrant a Fee Award at Market Rates for Plaintiffs’
   6            Senior Counsel
             The EAJA authorizes the Court to award attorneys’ fees at market rates
   7
       where there is a “limited availability of qualified attorneys for the proceedings
   8
       involved.” 28 U.S.C. § 2412(d)(2)(A). Enhanced hourly rates may be awarded
   9
       where plaintiffs’ counsel “possess ‘distinctive knowledge’ and ‘specialized skill’
  10
       that was ‘needful to the litigation in question’ and ‘not available elsewhere at the
  11
       statutory rate.’” Nadarajah v. Holder, 569 F.3d 906, 912 (9th Cir. 2009) (quoting
  12
       Thangaraja v. Gonzales, 428 F.3d 870, 876 (9th Cir. 2005) and Love, 924 F.2d at
  13
       1498); see also Pierce, 487 U.S. at 572 (“Examples … would be an identifiable
  14
       practice specialty such as patent law, or knowledge of foreign law or language.”).
  15
             In Nadarajah, the Ninth Circuit found this test was satisfied where counsel
  16
       had “distinctive knowledge and specialized skill in immigration law and, in
  17
       particular, constitutional immigration law and litigation involving the rights of
  18
       detained immigrants” and this skill was “needful to the litigation in question.” 569
  19
       F.3d at 912-15 (quoting Thangaraja, 428 F.3d at 876); see also Fang v. Gonzales,
  20
       No. 03-71352, 2006 WL 5669901, at *3 (9th Cir. Oct. 30, 2006) (“Counsel Smith’s
  21
       specialized skills and distinctive ‘knowledge of … particular esoteric nooks and
  22
       crannies of immigration law,’” allowed her “to succeed in obtaining relief from
  23
       removal for Fang.” (quoting Thangaraja, 428 F.3d at 876)). In Nadarajah, the
  24
       Ninth Circuit accordingly awarded the prevailing party’s most experienced attorney
  25
       fees at the market rate. 569 F.3d at 916-18.
  26
             In Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929 (C.D. Cal. 2010), the
  27
       Government moved to dissolve an injunction requiring immigration authorities to
  28


                                                 9        MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 15 of 19 Page ID
                                 #:45430


   1   follow specific procedures when detaining, processing and removing Salvadoran
   2   nationals. Id. at 936. The court largely denied the motion, and the plaintiffs sought
   3   EAJA fees at market rates because defending against the Government’s motion
   4   required specialized knowledge of, inter alia, the history of the litigation that had
   5   resulted in the injunction. Id. at 959-63. In addition to special knowledge of
   6   immigration law and procedure and complex civil litigation, the court found that the
   7   prevailing parties’ counsel “by virtue of their long involvement in this litigation,
   8   possess[ed] distinctive knowledge crucial to litigation of this complicated case,” id.
   9   at 961, and had specialized skills—including proficiency in Spanish—that were
  10   necessary to defend the injunction. Id. at 960-63.
  11                1. Plaintiffs’ counsel possess distinctive knowledge and specialized
  12                   skill that was necessary to the litigation.

  13         As in Orantes-Hernandez and Nadarajah, Plaintiffs’ senior counsel here
  14   have extensive experience, knowledge and specialized skill in immigration law,
  15   youth law, and more particularly, the rights of detained immigrant and asylum-
  16   seeking children as they exist at the intersection of the Settlement, the Homeland
  17   Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2135 (“HSA”), the William
  18   Wilberforce Trafficking Victims Protection Reauthorization Act of 2008, Pub. L.
  19   No. 110-457, 122 Stat. 5044 (“TVPRA”), and the United States Constitution.
  20         First, Plaintiffs’ senior counsel are highly skilled litigators with vast expertise
  21   in representing immigrants, refugees, and youth.
  22         In 2017, this Court awarded Plaintiffs fees under EAJA for the work of class
  23   counsel, Carlos Holguín, at a market rate, upon finding that he possesses “intimate
  24   knowledge of the Agreement”; that “[i]n addition to litigating the matter that led to
  25   the Agreement, … Holguin [has] been involved with monitoring the government’s
  26   compliance with the Agreement since its inception”; and that he is “therefore
  27   uniquely positioned to efficiently litigate the enforcement action in question.”
  28


                                                 10       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 16 of 19 Page ID
                                 #:45431


   1   Flores v. Sessions, No. CV 85-4544, 2017 WL 8943169, at *4 (C.D. Cal. Nov. 14,
   2   2017).5
   3         Co-counsel Leecia Welch is a national expert in the area of child welfare and
   4   has spent the majority of her career representing children and youth in cases
   5   focused on enforcing their statutory and constitutional rights. Declaration of John
   6   F. O’Toole, October 5, 2021, Exhibit C (“O’Toole”) ¶¶ 9, 13; Declaration of
   7   Richard M. Pearl, October 19, 2021, Exhibit D (“Pearl”) ¶ 12. Ms. Welch’s
   8   specialized expertise at the intersection of child welfare, complex federal class
   9   action litigation, and the rights of detained immigrant children, her extensive
  10   personal involvement in litigating on behalf of detained immigrant children in this
  11   case and related litigation, and the National Center for Youth Law’s institutional
  12   knowledge of this litigation, uniquely positioned her to litigate Plaintiffs’
  13   enforcement motion. O’Toole ¶¶ 14-15; Pearl ¶ 12; Welch Dec. ¶¶ 4, 22.
  14         Second, pursuant to Paragraphs 28 and 29 of the Settlement, Plaintiffs’
  15   counsel are unique in having access to detailed statistical reports regarding class
  16
       5
        Class counsel Holguín is among the leading lawyers litigating class actions on
  17   behalf of immigrant and refugee children. See Perez-Olano v. Gonzalez, 248
  18   F.R.D. 248 (C.D. Cal. 2008); League of United Latin Am. Citizens v. Wilson, 908 F.
       Supp. 755 (C.D. Cal. 1995). In the instant matter, he has argued for the Plaintiff
  19   class numerous times before this Court, the Ninth Circuit, and the U.S. Supreme
  20   Court, and numerous reported decisions have resulted therefrom. Flores v. Meese,
       681 F. Supp. 665 (C.D. Cal. 1988); Flores v. Meese, 934 F.2d 991 (9th Cir. 1990);
  21   Flores v. Meese, 942 F.2d 1352 (9th Cir. 1992) (en banc); Reno v. Flores, 507 U.S.
  22   292 (1993); Flores v. Johnson, 212 F. Supp. 3d 864 (C.D. Cal. 2015); Flores v.
       Sessions, 862 F.3d 863 (9th Cir. 2017).
  23
  24   He “is among a very few advocates for immigrant children’s rights in the country
       with the knowledge and experience needed to give the Flores class a fair chance of
  25   prevailing against ORR.” Declaration of Justin Mixon, October 23, 2017, Exhibit E
  26   (“Mixon”) ¶ 6. He is able to communicate with detained class members in Spanish,
       the language the vast majority speaks, has deep knowledge of the Settlement and
  27   the litigation and negotiations that preceded the Settlement, and has for years
  28   monitored Defendants’ treatment of and policies and practices toward detained
       immigrant and refugee children. Holguín at ¶¶ 6-7.

                                                  11      MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 17 of 19 Page ID
                                 #:45432


   1   member’s locations and length of detention. Plaintiffs’ lawyers relied heavily on
   2   this data in investigating and documenting class members’ detention in unlicensed
   3   hotels and correcting inconsistencies in Defendants’ reported data. See Declaration
   4   of Melissa Adamson, August 28, 2020 [Doc. # 960-1 at 3-28]; Declaration of
   5   Melissa Adamson, August 14, 2020 [Doc. # 920-8].
   6         Third, vindicating the rights of class members required specialized expertise
   7   at the intersection of multiple sources of law as they affect a discrete and vulnerable
   8   subclass: immigrant and asylum-seeking youth in ORR custody. Specifically,
   9   successfully litigating the motion to enforce at issue required expertise regarding
  10   immigrant children’s rights under the Settlement as well as federal laws such as the
  11   Trafficking Victims Protection Reauthorization Act (TVPRA), deep familiarity
  12   with the government’s system for detaining immigrant children, including the
  13   capacity of ORR shelters, and relationships with knowledgeable witnesses.
  14   Mixon ¶ 7; O’Toole ¶ 15 (“I believe that the issues surrounding the detention of
  15   ‘Title 42’ Class Members in unlicensed and unregulated hotels could not have been
  16   successfully litigated without Ms. Welch’s specialized expertise, including her
  17   expertise regarding the custodial status of children in government care, her
  18   expertise on the welfare of children held in irregular, unlicensed placements, and
  19   her understanding of the immigration detention system and children’s rights under
  20   the Flores Settlement and the TVPRA.”); see also Sept. 4 Order at 10-11
  21   (construing Title 42 consistently with the TVPRA and the Flores Settlement).
  22                2. Other qualified counsel is unavailable at the statutory rate.
  23         Few, if any, other lawyers in the country could have or would have
  24   prosecuted a class-wide action on behalf of indigent, non-English-speaking
  25   children, whom DHS detained in hotels with little to no access to counsel and
  26   subsequently expelled from the United States. See Sept. 4 Order at 15-16
  27   (describing severe obstacles to children in hotel detention accessing counsel).
  28


                                                 12      MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                               CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 18 of 19 Page ID
                                 #:45433


   1   Because of their role as class counsel in this case, Plaintiffs’ counsel were uniquely
   2   positioned to learn about these children and pursue relief on their behalf.
   3         Even if private attorneys had access to children detained in hotels, other
   4   attorneys would have been highly unlikely to take this case as the statutory rate:
   5         [F]ew members of the immigration bar regularly engage in federal court
             litigation; those who do, typically pursue cases on behalf of individual
   6         clients; and only a very small number are willing and able to prosecute class
             actions, or indeed, any federal litigation in which a favorable outcome is not
   7         reasonably assured with a minimal investment of time and money.
   8   Mixon ¶ 11; accord Declaration of Kristen Jackson, October 16, 2017, Exhibit F
   9   ¶ 5 (“[I]n my experience few legal aid lawyers or members of the private bar are
  10   willing to dedicate the time and resources to undertake federal litigation on behalf
  11   of detained immigrant and refugee minors. When private practitioners do pursue
  12   federal litigation, they typically charge much more than the inflation-adjusted
  13   EAJA statutory rate.”); O’Toole ¶ 16 (“[D]ue to the specialized nature of Ms.
  14   Welch’s expertise, I believe that it would have been impossible to find
  15   appropriately qualified attorneys to undertake this representation at the inflation-
  16   adjusted EAJA rate.”); Pearl ¶ 13 (“[Ms. Welch’s] practice specialties were patently
  17   useful in this case and in the instant motion to enforce … I am certain that her
  18   distinctive expertise and skills are not available at the EAJA statutory maximums
  19   (plus COLA’s) or anything close to those rates.”).
  20         These factors warrant the Court’s awarding attorneys’ fees at rates “in line
  21   with those [rates] prevailing in the community for similar services by lawyers of
  22   reasonably comparable skill, experience and reputation.” Nadarajah, 569 F.3d at
  23   916 (quoting Blum v. Stenson, 465 U.S. 886, 895 & n.11 (1984)).
  24                3. Market rates for Plaintiffs’ senior counsel.
  25         As appears in the Declaration of Carol Sobel, Sept. 27, 2021, Exhibit G
  26   (“Sobel”) ¶ 20, Mr. Holguín’s hourly market rate in 2020 was $905 and in 2021 is
  27   $935. Ms. Sobel is a Los Angeles attorney whose expertise in market rates courts
  28   have repeatedly recognized. See, e.g., Nadarajah, 569 F.3d at 912-13; Orantes-

                                                 13       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 1189-1 Filed 10/22/21 Page 19 of 19 Page ID
                                 #:45434


   1   Hernandez, 713 F. Supp. 2d at 959 n.44. Plaintiffs request the Court award fees for
   2   Mr. Holguín’s work in 2020 and 2021 at $775 per hour, well below his actual
   3   market rate.
   4           Market rates for Leecia Welch are supported in the declaration of Richard
   5   Pearl, a California attorney specializing in issues related to court-awarded
   6   attorneys’ fees. Pearl ¶¶ 12-14. Courts have frequently relied on Mr. Pearl’s
   7   opinions and writings on court-awarded attorneys’ fees. Pearl ¶¶ 4, 6-8. Plaintiffs
   8   request the Court award fees for Ms. Welch’s work in 2020 and 2021 at $690 per
   9   hour.
  10           Plaintiffs’ total fees request, with senior counsel’s time billed at enhanced
  11   rates, additional counsel’s at inflation-adjusted base rates, and paralegal fees at
  12   market rates, is $232,773.26. Welch Dec. ¶ 24.
  13      IV.     CONCLUSION
  14           For the foregoing reasons, this Court should award Plaintiffs attorneys’ fees
  15   and costs pursuant to 28 U.S.C. § 2412(d) as herein requested.
  16
  17
       Dated: October 22, 2021           CENTER FOR HUMAN RIGHTS AND
  18                                     CONSTITUTIONAL LAW
                                         Carlos R. Holguín
  19
  20                                     NATIONAL CENTER FOR YOUTH LAW
                                         Neha Desai
  21
                                         Melissa Adamson
  22                                     Mishan Wroe
                                         Diane de Gramont
  23
  24                                     CHILDREN’S RIGHTS
                                         Leecia Welch
  25
  26
                                         /s/ Mishan Wroe
  27                                     Mishan Wroe
  28                                     One of the Attorneys for Plaintiffs


                                                  14       MEMORANDUM IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                                 CV 85-4544-DMG-AGRX
